                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                           Civil Action No.: 7:23-CV-897

 IN RE:                                           )
                                                  )
 CAMP LEJEUNE WATER LITIGATION                    )
                                                  )
 This Pleading Relates to:                        )
                                                  )
                 ALL CASES.                       )
                                                  )
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                         TABLE OF EXHIBITS
IN SUPPORT OF PLAINTIFFS’ MOTION FOR AN ORDER EXCLUDING EVIDENCE
       RELATED TO DR. REMY HENNET’S FEBRUARY 2025 SITE VISIT


Ex. 1 – December 9, 2024 Expert Report of Remy J.-C. Hennet, PhD

Ex. 2 – March 20, 2025 Deposition of Remy J.-C. Hennet, PhD

Ex. 3 – December 2005 AH Environmental Consultants, Inc. Report

Ex. 4 – March 28, 2005 Expert Peer Review Panel Meeting Transcript

Ex. 5 – January 14, 2025 Expert Rebuttal Report of David Sabatini, PhD

Ex. 6 – To Be Filed Under Seal

Ex. 7 – March 28, 2025 PLG Letter and March 21, 2025 PLG Email to the Government




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